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  13
                            UNITED STATES DISTRICT COURT
  14
                           CENTRAL DISTRICT OF CALIFORNIA
  15

  16   MEGAN SCHMITT, DEANA                     Case No. 8:17-cv-01397-JVS-JDE
       REILLY, CAROL ORLOWSKY, and
  17   STEPHANIE MILLER BRUN,                   PLAINTIFFS’ EX PARTE
       individually and on behalf of            APPLICATION TO MODIFY
  18   themselves and all others similarly      SCHEDULING ORDER
       situated,
  19                                            Filed Concurrently With
                   Plaintiffs,                  [Proposed] Order and
  20                                            Declaration of Adam Gonnelli
             v.
  21
       YOUNIQUE, LLC,
  22
                   Defendant.
  23                                            Complaint Filed: 8/17/17
                                                Trial Date: 2/19/19
  24

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                  PLAINTIFFS’ EX PARTE APPLICATION TO MODIFY SCHEDULING ORDER
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     INTRODUCTION
   3        Plaintiffs in the above-captioned action request that this Court grant a second
   4 extension of the scheduling order.

   5        There are several outstanding discovery disputes which Plaintiffs are raising
   6 with Magistrate Judge Early for resolution. Plaintiffs only learned about a major

   7 discovery issue on July 11, 2018, which forced Plaintiffs to bring this motion

   8 expeditiously since discovery is scheduled to close on July 30. These discovery

   9 issues first need to be resolved, and should they be resolved in Plaintiffs’ favor,

  10 Plaintiffs would need additional time to analyze the discovery and/or conduct

  11 depositions.

  12        The discovery issues are Younique’s refusal to proffer witnesses for
  13 deposition except for 30(b)(6) designees (which Plaintiffs only learned about on

  14 July 11) and its refusal to provide unredacted copies of documents and other

  15 material necessary for Plaintiffs to conduct an appropriate damages analysis

  16 pursuant to Comcast Corp. v. Behrand, 569 U.S. 27 (2013). A copy of the proposed

  17 email to Judge Early describing the discovery disputes, which was sent to the

  18 defendant on July 17, 2018 for its input, is attached as Exhibit 1 to the Declaration
  19 of Adam Gonnelli. (Defendant has not yet inserted its positions on the discovery

  20 issues.)

  21        On May 29, 2018, this Court granted a two-month extension of the schedule.
  22 The parties have made good use of the time. After a meet and confer process,

  23 Younique produced 5600 pages of documents; Plaintiffs reviewed the production

  24 and consulted an expert; Plaintiffs served their Rule 30(b)(6) notice of deposition;

  25 and three Plaintiffs sat for depositions. The parties have also exchanged and

  26 responded to written discovery. Plaintiffs’ remaining discovery consists of
  27 depositions of Younique witnesses (identified in the 5600 pages produced after the

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   1 May 29th extension), and production of certain sales, costs, and profit data.

   2          Five weeks into the extension, on July 11, 2018, Younique’s counsel
   3 informed Plaintiffs’ counsel that it was Younique’s position that the Court’s Order

   4 granting the extension also precluded Plaintiffs from taking any other deposition and

   5 that Younique would not be producing any other witnesses for deposition besides

   6 Younique’s Rule 30(b)(6) representatives. Younique also stated that it would not

   7 provide unredacted copies of the documents requested by Plaintiffs. The parties

   8 exchanged correspondence over the next week, but were unable to resolve the

   9 issues, necessitating this ex parte motion to continue the scheduling order to permit

  10 presentation of these issues to Magistrate Judge Early and to conduct any discovery

  11 that is authorized.

  12          The current schedule has a fact discovery deadline of July 30, 2018 and a date
  13 for Plaintiffs to submit their class certification motion of August 1, 2018.1

  14          Plaintiffs request an extension of thirty days until Friday, August 31, 2018, to
  15 permit the resolution of the discovery disputes and Friday September 28, 2018, for

  16 Plaintiffs to file their class certification motion.

  17          There is good cause to grant this extension because the discovery at issue is
  18 important to Plaintiffs’ case, pertinent to class certification and will likely be the
  19 subject of expert testimony; the major issue of future depositions only came to the

  20 attention of Plaintiffs on July 11; Plaintiffs have used the time granted in the first

  21 extension productively and have accomplished a great deal; and the parties have

  22 thoroughly met and conferred on these issues but have not been able to resolve

  23

  24          1
               The date of August 1, 2018 was apparently a typographical error in both the May 18,
     2018 stipulation and the proposed order (Dkt. 66-67) endorsed by the Court. The date should have
  25
     been Friday, August 31. The existing schedule has Plaintiffs submitting their class certification
  26 motion the day after the close of fact discovery and gives Younique seven weeks to respond. The
     stipulation and proposed order should have permitted Plaintiffs thirty days after discovery to file
  27 its motion and given Younique three weeks to respond. The proposed revised schedule corrects
     this. Plaintiffs’ counsel takes responsibility for the error.
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   1 them.

   2 II.      REQUESTED RELIEF
   3         Plaintiffs request the scheduling order be modified to the following dates:
   4    Case Management Event:               Prior Operative       NEW Deadline:
                                             Deadline
   5    Last date to commence fact           July 30, 2018         August 31, 2018
   6    witness and party depositions

   7
        Last date for Plaintiffs to file     August 1, 2018        September 28, 2018
        motion for class certification
   8
        Last date to complete private        September 28,         October 26, 2018
   9    mediation                            2018
  10

  11    Last date for Defendant to file      September 21,         October 19, 2018
        opposition to motion for class       2018
  12    certification
  13    Last date for Plaintiffs to file     October 5, 2018       November 2, 2018
  14    reply in support of motion for
        class certification
  15
        Hearing on Plaintiffs’ motion for    October 15, 2018,     November 12, 2018, at
  16    class certification                  at 1:30 p.m.          1:30 p.m.
  17

  18
       III.   THE CASE AND EARLY DISCOVERY
  19
              This case is a national consumer class action which alleges that Defendant
  20
       Younique, LLC, sold mascara which it represented contained “natural green tea
  21
       leaves” but in reality contained only nylon flakes. Plaintiffs alleged that Younique
  22
       sold the mascara through 2015, but investigation during discovery has revealed the
  23
       mascara with the “natural green tea leaves” representation is still being sold today.
  24
              At a scheduling conference before this Court on December 11, 2017, the
  25
       Court set a date for Plaintiffs to file an amended complaint of January 4, 2018 and
  26
       fact discovery cut-off of June 1, 2018.
  27
              On February 14, 2018, Plaintiffs served document requests on Younique and
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   1 Younique served document requests and interrogatories on Plaintiffs.

   2        On March 16, 2018 Younique served its responses and objections to the
   3 document requests but did not produce any documents.

   4        On April 27, 2018 Younique produced 345 pages of documents to Plaintiffs.
   5        On May 14, 2018, counsel for Plaintiffs wrote to Younique’s counsel about
   6 the deficiencies in the document production.

   7        On May 18, 2018 the parties submitted a stipulation requesting an extension
   8 of the case schedule by two months to complete discovery.

   9 IV.    PLAINTIFFS HAVE USED THE FIRST EXTENSION EFFICIENTLY
  10        The Court granted the first extension on May 29, 2018. Plaintiffs have made
  11 good use of the extra time.

  12        On June 4, 2018, after meeting and conferring with defense counsel, Plaintiffs
  13 served a notice of a Rule 30(b)(6) deposition of Younique.

  14        On June 6, 2018, after further meet and confer efforts, Younique produced an
  15 additional 5600 pages of documents and on June 7, 2018 Younique sent a detailed

  16 response letter to the May 14 letter to Plaintiffs’ counsel.

  17        In the ensuing weeks, Plaintiffs analyzed the production, prepared for
  18 depositions, conducted independent investigation, proffered three Plaintiffs for
  19 deposition in Los Angeles, and consulted with an expert.

  20        Five weeks into the extension, on July 11, 2018, during additional discussions
  21 with defense counsel about the scope and scheduling of the 30(b)(6) deposition,

  22 Plaintiffs’ counsel for the first time learned that it was the position of Younique that

  23 it would not be producing any other witnesses for deposition besides Younique’s

  24 Rule 30(b)(6) representatives.

  25        On July 12, 2018 Plaintiffs’ counsel sent a letter explaining that the Court’s
  26 Order of May 29 did not impose any such limitation, that Plaintiffs had never
  27 intended to waive additional depositions, and that such a position would have made

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   1 little sense because at the time the stipulation was submitted to the Court on May 18,

   2 Younique had not made a significant document production (which it did on June 6),

   3 and thus Plaintiff would not have known the identities of the additional deponents at

   4 that time.

   5        Also on July 12, 2018, Plaintiffs’ counsel served deposition notices of four
   6 Younique employees, a further 30(b)(6) deposition concerning “cost of goods”

   7 issues (the subject of the redaction dispute) and notice of a subpoena on Younique’s

   8 public relations firm, all for the week of July 17-21.

   9        On July 13, Younique’s counsel responded by letter confirming that it was
  10 indeed Younique’s position that the Court’s May 29, 2018 Order granting the first

  11 extension precluded additional depositions and objected to the notices. Younique

  12 also served its objection to the June 4, 2018 Rule 30(b)(6) notice and sought to

  13 impose inappropriate temporal and geographical limitations.

  14        The parties exchanged additional correspondence on July 16 and 17, but were
  15 unable to reach agreement.

  16        Also on July 17, 2018, Plaintiffs’ counsel sent Defendant a draft email that
  17 Plaintiffs proposed to send to Magistrate Judge Early pursuant to Judge Early’s

  18 practices allowing for informal resolution of discovery disputes. Defendant has not
  19 indicated whether it will participate in this process.

  20        Defendant has now also stated that it will produce 30(b)(6) witnesses only on
  21 the eve of the current discovery deadline, July 27, 2018. This does not allow for any

  22 time to resolve any discovery disputes which may arise at the July 27th deposition,

  23 let alone the production of material that is uncovered at the deposition but has not

  24 yet been produced.

  25 V.     PLAINTIFFS PROVIDED NOTICE OF THE SUBJECT EX PARTE
  26        APPLICATION
  27        On July 17, 2018, Plaintiffs’ counsel asked Defendant’s counsel if they would
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   1 consent to the proposed extension at issue in this ex parte application. Plaintiffs’

   2 counsel explained that in light of the ongoing discovery issues, it was implausible to

   3 complete discovery by the currently-set deadline, and requested they stipulate to a

   4 continuance. (Exhibit 2 to Gonnelli Declaration.)

   5         On July 18, 2018 counsel for defendants stated that they would review my
   6 email and respond either today, July 18, 2018, or tomorrow, July 19, 2018. (Exhibit

   7 3 to Gonnelli Declaration.) Plaintiffs’ counsel responded asking if Defendant could

   8 respond by close of business given the time frame.

   9         At 5:01 p.m. on July 18, 2018, Defendant notified Plaintiffs that they would
  10 not stipulate to the extension of time requested in this ex parte application. Plaintiffs

  11 notified Defendant with the filing of this application that Defendant has 24 hours to

  12 respond to the application.

  13 VI.     THE RESOLUTION OF THE DISCOVERY ISSUES REQUIRES
  14         ADDITIONAL TIME
  15         Plaintiffs’ counsel is waiting for Defendant’s input on the discovery letter to
  16 Judge Early requesting an informal discovery conference. In the alternative,

  17 Plaintiffs will formally move to compel the discovery. Once Judge Early resolves

  18 the discovery issues, if he does so in Plaintiffs’ favor, the parties will have to
  19 schedule and conduct depositions. In addition, Plaintiffs and their expert will need

  20 additional time to analyze hundreds, if not thousands, of data points. Accordingly, it

  21 is unlikely these tasks can be completed by July 30, 2018.

  22         For the reasons above, Plaintiffs request that the proposed extension be
  23 granted, as set forth in the corresponding Proposed Order.
       Dated: July 18, 2018                 NYE, PEABODY, STIRLING, HALE &
  24                                        MILLER, LLP
  25                                        By: /s/
                                                Jonathan D. Miller, Esq.
  26                                            Alison M. Bernal, Esq.
  27 [Signatures continued on following page.]

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   1
       Dated: July 18, 2018             CARLSON LYNCH SWEET
   2                                    KILPELA & CARPENTER, LLP
   3                                    By: /s/
                                            Ed Kilpela, Esq.
   4

   5
       Dated: July 18, 2018             THE SULTZER LAW GROUP P.C.
   6
                                        By: /s/
   7                                        Adam Gonnelli, Esq.
   8

   9
       Dated: July 18, 2018             WALSH, LLC
  10

  11                                    By: /s/
                                            Bonner Walsh, Esq.
  12

  13                                     Attorneys for Plaintiffs and the Class
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